Case 2:05-cv-02121-BBD-dkv Document 13 Filed 08/16/05 Page 1~0f2 Page|D 15

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IN THE UNITED STATES DISTRICT COURT 05 AUG |5 PH |Z= l 2
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION n'iOMAS M. GOUU)
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L.-r 1 .L putng
JACQUELINE I-IENDERSON,
Plaintiff, Case No.: 05-2121 D

v.
FEDERAL EXPRESS CORPORATION, et al.,

Defendants.

 

ORDER R_EGARDING MOTION TO DISMISS

 

Before the court is the Motion to Dismiss (Docket #7) filed by Federal Express Corporate

Service. Pursuant to the Stipulation of Dismissal (Docket #11), the motion is GRANTED.

IT ls So oRDEREI) this /J'M`day of &FA ,2005.
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This notice confirms a copy of the document docketed as number 13 in
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Mary Helen Beard
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
1\/1emphis7 TN 38125--880

James E. King
ESKINS KING7 PC
50 N. Front St.

Ste. 1170

1\/1emphis7 TN 38103

Michael E. Gabel

FEDERAL EXPRESS CORPORATION
3620 Hacks Cross Rd.

Bldg B, an Floor

1\/1emphis7 TN 38125--880

Charles A. Sevier
ESKINS KING7 PC
50 N. Front St.

Ste. 1 170

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

